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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


 JOHNNY RIVERA,

    Plaintiff,                                           CASE NO.:

 -VS

DEPARTMENT STORES NATIONAL
BANK, d/b/a MACY’S,

   Defendant.


                                              COMPLAINT

        1.        Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.5
                                                                                        5 et seq.
(“fCCPA”).

                                    JURISDICTION AND VENUE

        2.       Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

        3.       The alleged violations described in the Complaint occurred in Hillsborough

County, Florida.

                                     FACTUAL ALLEGATIONS

       4.        Plaintiff is a natural person, and citizen of the State of Florida, residing in

Hilisborough County, Florida

       5.        Plaintiff is a “consumer” as defined in Florida Statute 559.55(2).

       6.        Plaintiff is an “alleged debtor.”




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         7.    Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679

 F.3d 637, 643 (7th Cir. 2012), reh’g denied (May 25, 2012).

        8.     Defendant is a corporate entity responsible for attempting to collect a consumer

 debt from Plaintiff and is transacting business in the State of Florida.

        9.     The debt that is the subject matter of this complaint is a “consumer debt” as

 defined by Florida Statute §559.55(1).

        10.        Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(813) 245-5012, and was the called party and recipient of Defendant’s hereafter described calls.

        11.    Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        12.    Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

        13.    Each call the Defendant made to the Plaintiff was made using an “automatic

telephone dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator; and to dial such numbers as specified by

47 U.s.c §227(a)(1).

        14.    Furthermore, each of the calls at issue were placed by the Defendant using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C.       §   227(b)(1)(A).

        15.   Each call the Defendant made to the Plaintiffs aforementioned cellular telephone

number was done so without the “express permission” of the Plaintiff.

       16.    In or about November of 2013, Plaintiff opened a credit account with Defendant

in. At that time, Plaintiff was asked a series of questions by a sales clerk acting as an agent of


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 Defendant, including his mailing address, which was recorded by the clerk on the application. At

 no time was plaintiff offered a copy of the application to review for accuracy.

          17.       In or about January of 2014, Defendant initiated its campaign of automated phone

 calls to the Plaintiff on his aforementioned cellular telephone number, which included a pre

 recorded message instructing Plaintiff to contact Defendant regarding his account, and provided

 Plaintiff no way to be connected with an agent/representative of the Defendant.

         18.        In or about January of 2014, upon receipt of the calls from Defendant, Plaintiffs

 caller ID identified that the calls were initiated from, but not limited to, the following phone

numbers: (800) 511-3207, (513) 754-9837.

         19.        In or about January of 2014, Plaintiff contacted the customer service line of the

Defendant in an attempt to stop the automated calls to his aforementioned cellular telephone

number, and spoke to an agent/representative of Defendant, who informed Plaintiff that his

payment was late. At that time, Plaintiff informed Defendant that they had never provided

Plaintiff with an account number to reference, nor ever mailed Plaintiff an account statement

detailing a balance on his account.

         20.    Additionally, in or about January of 2014, Plaintiff filed a complaint with the

Better Business Bureau referencing the aforementioned difficulties he had with the Defendant

regarding his account. Shortly thereafter, Plaintiff received a call from an agent/representative of

Defendant in response to his complaint, who then identified that Defendant had the wrong

mailing address recorded on the account, updated the agent/representative of Defendant with

correct address and requested that Defendant mail him a proper account statement, and revoked

any express consent to Defendant’s placement of telephone calls to Plaintiffs aforementioned

cellular telephone by the use of an automatic telephone dialing system or a pre-recorded or

artificial voice.
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         21.    On or about February         4,   2014, Plaintiff received an email from an

 agent/representative of Defendant, Jose Claro Bauda, which included the first account statements

 received by the Plaintiff, still displaying the incorrect address for the Plaintiff and a $25.00 late

 fee on Plaintiffs account, which Plaintiff disputed for the reason that he was unable to make a

 payment on an account for which he had not received a bill or account number.

         22.   On or about February 5, 2014, due to the continued receipt of automated phone

 calls from the Defendant to his aforementioned cellular telephone number, Plaintiff sent

 Defendant written correspondence confirming that they had the wrong address on file, again

 requesting a correct account statement, and informing Defendant that upon receipt of said

 statement, he would pay the balance in full, and close the account.

        23.    On or about February 11, 2014, due to the continued receipt of automated phone

calls from the Defendant to his aforementioned cellular telephone number, Plaintiff sent an

additional written correspondence to Defendant, in which he made a good-faith payment of

$25.00 on his account, and again requested that Defendant adjust and produce an accurate

account statement to his mailing address, at which time he would pay the account in full, and

close the account.

        24.    On or about May 7, 2014, Plaintiff sent an additional written correspondence to

Defendant informing them that to date, he had continued to get unwanted auto-dialed telephone

calls from Defendant on his aforementioned cellular telephone number, and again requested that

Defendant adjust and produce an accurate account statement to his mailing address, at which

time he would pay the account in full, and close the account.

       25.     In or about May of 2014, due to the continued receipt of automated phone calls

from the Defendant to his aforementioned cellular telephone number, and the failure of

Defendant to provide Plaintiff an accurate billing statement to his correct mailing address despite
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 multiple written and verbal requests by the Plaintiff to do so, Plaintiff again filed a complaint

 with the Better Business Bureau.

         26.    On or about May 27, 2014, Plaintiff received a written response from Jeff Taylor,

 with “Macy’s Executive Office” [See Attached Exhibit “A”], acknowledging that Defendant’s

 statements to the Plaintiff had been returned to the Defendant with the incorrect mailing address,

 that all late charges on Plaintiffs account would be removed, and confirming that Defendant

 would put a “halt to the telephone calls from our Collections Department.”

        27.     In or about June of 2014, Plaintiff issued Defendant a payment in the amount of

 $82.00 as full and final payment of his account with Defendant.

        28.    Through approximately October of 2014, Plaintiff continued to receive automated

 telephone calls from Defendant regarding his account with Defendant, despite numerous written

and verbal demands that Defendant cease calling his aforementioned cellular telephone number.

        29.    From January of 2014 through the filing of this Complaint, or at such time as will

be determined by a review of Defendant’s records, Defendant has made approximately two-

hundred fifly (250) phone calls to Plaintiffs aforementioned cellular telephone number. [See

Attached Exhibit “B” demonstrating a non-exclusive list of at least 95 phone calls between

May 5, 2014 and October 02, 2014].

        30.    Each of Plaintiffs conversations with the Defendant demanding an end to the

harassment were ignored.

        31.    Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite not having his express permission to call his

aforementioned cellular telephone number.

       32.     Defendant continued to leave voice messages using a pre-recorded or artificial

voice message when calling the Plaintiff, despite not having his express permission to do so.
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           33.    Defendant’s corporate policy and procedures is structured as to continue to call

 individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

 have had.

           34.    Defendant’s, corporate policy and procedures provided no means for the Plaintiff

to have his aforementioned cellular number removed from the call list.

          35.     Defendant has a corporate policy of using an automatic telephone dialing system,

just as it did when calling the Plaintiffs aforementioned cellular telephone number, as described

herein.

          36.     Defendant has a corporate policy of leaving voicemails using a pre-recorded or

artificial voice without consent, just as it did when calling the Plaintiffs aforementioned cellular

telephone number, as described herein.

          37.    Defendant has many similar complaints from consumers across the country, as

those alleged in this lawsuit, by Plaintiff.

          3$.    Plaintiff expressly revoked consent to Defendant’s placement of telephone calls to

Plaintiffs aforementioned cellular telephone by the use of an automatic telephone dialing system

or a pre-recorded or artificial voice immediately upon Defendant’s placement of the calls.

          39.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

          40.    Defendant violated the TCPA with respect to the Plaintiff.

          41.    Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff

                                              COUNT I
                                       (Violation of the TCPA)

       42.       Plaintiff incorporates Paragraphs one (1) through forty-one (41).




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         43.    Defendant caused placement of non-emergency telephone calls to Plaintiffs

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

 without Plaintiffs prior express consent in violation of federal law, including 47 U.s.c
                                                                                                 §
 227(b)(1)(A)(iii).

        44.     Defendant willfully and knowingly caused placement of non-emergency

 telephone calls to Plaintiffs cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiffs prior express consent in violation of federal

law, including 47 u.s.c   § 227(b)(1)(A)(iii).
                WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual damages

and any other such relief the court may deem just and proper.

                                            COUNT II
                                    (Violation of the FCCPA)

        45.     Plaintiff incorporates Paragraphs one (1) through forty-one (41).

        46.    At all times relevant to this action Defendant is subject to and must abide by the

law of Florida, including Florida Statute   § 559.72.
        47.    Defendant has violated Florida Statute §559.72(7) by willfully engaging in

conduct which can reasonably be expected to harass the debtor.

       48.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in

conduct which can reasonably be expected to abuse the debtor.

       49.     Defendant has violated Florida Statute §559.72(9) by claiming, attempting or

threatening to enforce a debt when such person knows that the debt is not legitimate or assert the

existence of some other legal right when such person knows that the right does not exist.




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       50.     Defendant’s actions have directly and proximately resulted in Plaintiffs prior and

continuous sustaining of damages as described by Florida Statute §559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees and any other such relief the court may deem just and proper.



                                             Respectfully submitted,



                                               /s/Amanda J. Allen
                                              Amanda J. Allen, Esquire
                                              Florida Bar #; 0098228
                                              Morgan & Morgan, Tampa, P.A.
                                              One Tampa City Center
                                              201 N. Franklin Street, 7th Floor
                                              Tampa, FL 33602
                                              Tele: (813) 223-5505
                                              AAllen(a)ForThePeople .com
                                              Attorney for Plaintiff




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   05/29/2014
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               13:4S    8E34257S71     Document C4SH
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                                                                                      PAGE 9
c/Z8IZO14         -
                                          VIeN Complaint Messaqe


                            johnny Rivera
                            5326 Bradbury Ct
                            Tampa , FL 33624


                            Dear Johnny Rivera

                            This message is in regard to your concerns submitted on 5/16/20t4
                            iO05:46 AM against Macy’s. Your complaint was assigned ID
                            10053602. We received the business’s response to your concerns,
                            and you can find the contents of the message below or attached.

                            To assist us in bringing this matter to a close, we would like to know
                            your view on the matter,
                               * Has the company addressed the Issues of this dispute?
                               *
                                 If not, why?
                                 Has the company met the agreement they outlined in their
                            response?

                            Please submit your thoughts via online system, fax or mail within 7
                            days.

                            The text of your complaint may be publicly posted on BBBs Web site
                            (BBB reserves the right to not post in accordance with BBS policy).
                            Please do not include any personally identifiable information when you
                            tell us about your problem or in your desired outcome. By submitting
                            your complaint, you are representing that it is a truthful account of
                            your experience with the business. BBS may edit your complaint to
                            protect privacy rights and to remove inappropriate language.

                            Your complaint will be made part of the company’s BBS Business
                            Review for the next 3 years. If we don’t hear from you, your complaint
                            wilt he reflected as “resolved.” Should you have any questions or
                            further concerns, please do not hesitate to contact us. We would be
                            glad to assist you.

                            Regards,

                            Ereico Essex




                            MESSAGE FROM BUSINESS:

                                                 P.O. Box 52154 Phoenix, AZ 85072-2184
                           May 27, 2014
                           Mr. Johnny Rivera
                           5326 Bradbwy Court
                           Tampa, FL 33624 2544
                                             -



                           1e: Better Business Bureau complaint ID # 10053602
                                Macy’s account ending in 6652
                           Dear Mr. Rivera:
                           I am in receipt of your recent comp]aint forwarded to us by the Better
                           Business Bureau on May 16, 2014. As a representative of Macy’s
                           Executive Office, I was asked to review and respoiid to your concerns on
                           behalf of Department Stores National Bank. Please accept my apology for
                           any difficulties you may have experienced regarding this issue.
                           Upon receipt of your complaint I verified that on March 27, 2014, we
                                                 Wrlnttrua5MesaaqID72225924                           1/2
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                                                              REC01/09/15 Page 10 of 13 PageID   P4GE 10 83
bf2StAJl4         -
                                               \/wColt4iaintMeseaqe
                             reccived your March billing statement returned to us as undeliverable. On
                             May 16, 2014, 1 updated the address to that which appears on this letter.
                             The only change being made was to the last four numbers of the zip code.
                             1 spoke with a representative of the United States Postal Service who
                              confirmed the validity of the address we have on file, Although he did not
                             feel that the last four digits of the zip code was responsible for the returned
                             mail, he did recommend. that you speak with your local post office to see if
                            there may be another reason for you not receiving our billing statements. I
                            have enclosed copies of your March, April and May 2014 billing statements
                            for reference.
                            All late fees charged due to this issue have been removed. I have also
                            requested a halt to the telephone caDs from our Collections Department
                              The last payment we received was on March 20, 2014, for $27.78. The
                            total outstanding balance on the account is $79.00 with a minimum pa11ent
                            of $25.00 due by June 1, 2014. Please be advised that you may access your
                            account anytime through our website, nacys.com.
                            Mr. Rivera, I appreciat.e your allowing me the opportunity to address this
                            issue and hopeMly prevent any fhrther disruptions in you receiving our
                            correspondence by mail. Please do not hesitate to contact me at the
                            telephone number listed below if I may be of additional assistance.

                           Sincerely,
                           Jeff Taylor
                           Macyts Executive Office
                           1-888-622-9793 Extension 73281
                           Enclosures / mailed May 27, 2014
                           cc; Mr. Ereico Essex, EBB

                              The Macy’s card is issued by Department Stores National Bank.




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                Phone Call Log for ($13) 245-5012


             Date                   Time                   Caller
 1.        05/05/2014               09:55 am            (800) 511-3207
2.         05/05/2014               12:55pm             (800)511-3207
3.         05/05/2014               03:56 pm            (800) 511-3207
4.         05/05/2014               06:56 pm            (800) 511-3207
5.         05/05/2014               07:48 pm            (800) 511-3207
6.         05/06/2014               12:39pm             (800)511-3207
7.         05/08/2014               09:44 am            (800)511-3207
8.         05/08/2014               12:44 pm            (800) 511-3207
9.         05/08/2014               03:45 pm            (800) 511-3207
10.        05/08/2014              03:55 pm             (800) 511-3207
11.        05/08/2014              06:56 pm             (800) 511-3207
12.        05/09/2014               09:47 am            (800) 511-3207
13.        05/09/2014               12:48pm             (800)511-3207
14.        05/09/2014              03:49 pm             (800) 511-3207
15.        05/09/2014              06:49 pm             (800) 511-3207
16.        05/12/2014               09:57 am            (800)511-3207
17.        05/12/2014               12:57pm             (800)511-3207
18.        05/12/2014              03:58 pm             (800)511-3207
19.        05/12/2014               08:59 am            (800)511-3207
20.        05/13/2014               09:41 am            (800)511-3207
21.        05/13/2014               12:42pm             (800)511-3207
22.        05/13/2014              03:42 pm             (800)511-3207
23.        05/13/2014              06:43 pm             (800)511-3207
24.        05/14/2014               09:5 1 am           (800) 511-3207
25.        05/14/2014               12:04pm             (800)511-3207
26.        05/14/2014               12:52pm             (800)511-3207
27.        05/14/2014              03:52 pm             (800) 511-3207
28.        05/14/2014              06:54 pm             (800)511-3207
29.        05/15/2014              09:41 am             (800)511-3207
30.        05/15/2014               10:00am             (800)511-3207
31.        05/15/2014               12:41 pm            (800) 511-3207
32.        05/16/2014              09:47 am             (800)511-3207
33.        05/16/2014               12:47pm             (800)511-3207
34.        05/16/2014              03:48 pm             (800) 511-3207
35.        05/16/2014              06:32 pm             (800) 511-3207
36.        05/16/2014              06:49 pm             (800)511-3207
37.        05/19/2014              09:55 am             (800)511-3207
38.        05/19/2014               12:55pm             (800)511-3207
39.        05/19/2014              03:56 pm             (800)511-3207
40.        09/04/2014              09:37 AM              800-511-3207
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                 Phone Call Log for ($13) 245-5012


 41.        09/04/2014             09:48 AM              800-511-3207
 42.        09/04/2014              12:48 PM             800-511-3207
 43.       09/04/2014               03:49 PM             800-511-3207
 44.       09/05/2014              09:30 AM              800-511-3207
45.        09/05/2014               12:31PM              800-511-3207
46.        09/05/2014               03:31 PM             800-511-3207
47.        09/05/2014               06:33 PM             800-511-3207
48.        09/08/2014              09:43 AM              800-511-3207
49.        09/08/2014               12:43 PM             800-511-3207
50.        09/08/2014               03:44 PM             800-511-3207
51.        09/08/2014              06:56 PM              800-511-3207
52.        09/09/2014              09:31 AM              800-511-3207
53.        09/09/2014               12:31 PM             800-511-3207
54.        09/09/2014              03:32 PM              800-511-3207
55.        09/09/20 14             06:32 PM              800-511-3207
56.        09/10/2014              09:37 AM              800-511-3207
57.        09/10/2014              11:42AM               800-511-3207
58.        09/10/2014               12:37PM              800-511-3207
59.        09/10/2014              03:38 PM              800-511-3207
60.        09/10/2014              06:39 PM              800-511-3207
61.        09/11/2014              09:32 AM              800-511-3207
62.        09/15/2014              09:43 AM              800-511-3207
63.        09/15/2014               12:44PM              800-511-3207
64.        09/15/2014              03:45 PM              800-511-3207
65.        09/15/2014              06:46 PM              800-511-3207
66.        09/16/2014              09:31 AM              800-511-3207
67.        09/16/2014              12:32PM               800-511-3207
68.        09/16/2014              03:33 PM              800-511-3207
69.        09/16/2014              06:34 PM              800-511-3207
70.        09/17/2014              09:38 AM              800-511-3207
71.        09/22/2014              07:26 AM              800-511-3207
72.        09/22/2014              09:23 AM              800-511-3207
73.        09/22/2014              12:43PM               800-511-3207
74.        09/22/2014              03:44 PM              800-511-3207
75.        09/22/2014              06:45 PM              800-511-3207
76.        09/23/2014              12:33PM               800-511-3207
77.        09/23/2014              02:00 PM              800-511-3207
78.        09/23/2014              03:34 PM              800-511-3207
79.        09/25/2014              09:34 AM              800-511-3207
80.        09/25/2014              12:34 PM              800-511-3207
81.        09/25/2014              03:35 PM              800-511-3207
82.        09/25/2014              06:36 PM              800-511-3207
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                Phone Call Log for ($13) 245-5012


83.        09/26/2014              09:36 AM              800-511-3207
84.        09/26/2014              12:37PM               800-511-3207
85.        09/26/2014              03:39 PM              800-511-3207
86.        09/26/2014              06:40 PM              800-511-3207
87.        09/29/2014              09:40 AM              800-511-3207
88.        10/01/2014              09:36 AM              800-511-3207
89.        10/01/2014              12:36PM               800-511-3207
90.        10/01/2014              03:37 PM              800-511-3207
91.        10/01/2014              06:38 PM              800-511-3207
92.        10/02/2014              09:32 AM              800-511-3207
93.        10/02/2014              12:33PM               800-511-3207
94.        10/02/2014              03:34 PM              800-511-3207
95.        10/02/2014              06:34 PM              800-511-3207
